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                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF NEW JERSEY


 In re:                                                                         Case No. 20-12465 (JKS)
                                                                                Jointly Administered
 HAJJAR BUSINESS HOLDINGS, LLC, et al., 1
                                                                                Chapter 11
                           Debtors.


                                              ADJOURNMENT REQUEST

          1. I, Anthony Sodono, III,

                     am the attorney for Hajjar Business Holdings, LLC, et al., in the above-referenced
                     bankrutpcy proceeding and request an adjournment of the following hearing for
                     the reason set forth below.

                Matters: Debtors’ First Omnibus Objection to Certain Claims Pursuant to 11 U.S.C.
                         § 502(b) and Fed. R. Bankr. P. 3007(d), filed on January 19, 2022 [Docket
                         No. 890] (the “Claims Objection”)

                Current hearing date and time:                  February 22, 2022 at 10:00 a.m.

                New date requested:                             March 1, 2022 at 10:00 a.m.

                Reasons for adjournment request: The Claims Objection involves the claims of (i)
                Estate of Bryan Massoud, (ii) Mass Realty, LLC, and (iii) Jasco Recovery Services,
                LLC. The parties are reviewing documents and have been in communication to try
                and resolve this.
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  The debtors in these Chapter 11 cases, are as follows: Hajjar Medical Office Building of Wayne, LLC; Hajjar Business Holdings, LLC; Hajjar
Medical Office Building of Roseland, LLC; Hajjar Medical Building of Carlstadt, LLC; Hajjar Medical Office Building of Fairlawn, LLC; Hajjar
Medical Office Building of Glen Rock, LLC; Hajjar Medical Office Building, LLC; Hajjar Medical Office Building of Hackensack, LLC; Hajjar
Medical Office Building of Jersey City, LLC; Hajjar Warehouse of Hackensack, LLC; Hajjar Medical Office Building of Mount Kisco, LLC;
Hajjar Office Building of Miramar, LLC; Hajjar Medical Office Building of New Brunswick, LLC; HMOB of Mt. Kisco Owner, LLC; HMOB of
New Brunswick Owner, LLC; HMOB of Roseland Owner, LLC; HMOB of Jersey City Owner, LLC; HMOB of Carlstadt Owner, LLC; HMOB
of Fair Lawn 15-01 Broadway Owner, LLC; HMOB of Fair Lawn Owner, LLC; HMOB of Glen Rock Owner, LLC; HMOB of Hackensack
Office Owner, LLC; HMOB of Hackensack Warehouse Owner, LLC; HMOB of Miramar Owner, LLC; HMOB of Oradell Owner, LLC; and
HMOB of Wayne Owner, LLC (collectively, the “Debtors”).
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         2. Consent to adjournment:

                  I have the consent of all parties.       I do not have the consent of all
                                                             (explain below):

              I have the consent from counsel for Estate of Bryan Massoud and Mass Realty, LLC,
              but have not heard back from Jasco Recovery Services.


         I hereby certify under peanlty of perjury that the foregoing is true.

         Date: February 17, 2022                           /s/ Anthony Sodono, III
                                                           Anthony Sodono, III




         COURT USE ONLY
         ___________________________________________________________________________

         The request for adjournment is:

         X Granted                        New hearing date:     3/1/2022 @ 10:00
         Peremptory

             Granted over objection(s) New hearing date:
         Peremptory

              Denied



         IMPORTANT: If your request is granted, you must notify interested parties who are
         not electronic filers of the new hearing date.




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4857-9002-5231, v. 1
